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                                   8                                   UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12       MAXIMILIAN KLEIN, et al.                       Case No. 20-CV-08570-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiffs,                       ORDER APPOINTING INTERIM
                                                                                          CLASS COUNSEL AND PLAINTIFFS’
                                  14             v.                                       EXECUTIVE COMMITTEES
                                  15       FACEBOOK, INC.,                                Re: Dkt. Nos. 55, 56, 57, 58, 59
                                  16                    Defendant.

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                                  18            Before the Court are two motions for appointment as Interim Class Counsel for the

                                  19   consumer class, ECF Nos. 55, 59, and two motions supporting one of the motions. ECF Nos. 56,

                                  20   57.1 The Court received three response briefs with respect to the consumer class. ECF Nos. 60, 61,

                                  21   62. Before the Court is one motion for appointment as interim class counsel for the advertiser

                                  22   class. ECF No. 58. The Court received two response briefs with respect to the advertiser class.

                                  23   ECF Nos. 60, 63.

                                  24            Having considered the parties’ submissions and arguments at the March 18, 2021 hearing

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                                  26     ECF Nos. 57, 58, and 59 contain a notice of motion paginated separately from the
                                       memorandum of points and authorities in support of the motion. Civil Local Rule 7-2(b) provides
                                  27   that the notice of motion and points and authorities must be contained in one document with the
                                       same pagination.
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                                       Case No. 20-CV-08570-LHK
                                       ORDER APPOINTING INTERIM CLASS COUNSEL AND PLAINTIFFS’ EXECUTIVE COMMITTEES
                                           Case 5:20-cv-08570-LHK Document 73 Filed 03/18/21 Page 2 of 3




                                   1   on the instant motions and the factors enumerated in Rule 23(g)(1)(A), the Court hereby appoints

                                   2   Stephen A. Swedlow of Quinn Emanuel Urquhart & Sullivan, LLP and Shana A. Scarlett of

                                   3   Hagens Berman Sobol Shapiro LLP as Interim Class Counsel for the consumer class; and Yavar

                                   4   Bathaee of Bathaee Dunne LLP and Kristen M. Anderson of Scott + Scott LLP as Interim Class

                                   5   Counsel for the advertiser class.

                                   6          The Court further recognizes that this antitrust litigation will require significant resources

                                   7   from Plaintiffs’ counsel, who must advance the cost of litigation, including attorneys’ and experts’

                                   8   fees. Thus, the Court appoints the following attorneys to serve on Plaintiffs’ Executive Committee

                                   9   for the consumer class: Warren Postman of Keller Lenkner LLC and Brian D. Clark of Lockridge

                                  10   Grindal Nauen P.L.L.P. The Court appoints the following attorneys to serve on Plaintiffs’

                                  11   Executive Committee for the advertiser class: Tina Wolfson of Ahdoot & Wolfson, PC and Keith

                                  12   J. Verrier of Levin Sedran & Berman LLP.
Northern District of California
 United States District Court




                                  13          In light of the number of attorneys and law firms appointed, and in order to ensure

                                  14   efficiency, the Court adopts the following protocols. Other than the Interim Class Counsel and

                                  15   Plaintiffs’ Executive Committees, no other law firms shall work on the instant case without prior

                                  16   approval of the Court. Motions for approval of additional Plaintiffs’ counsel shall identify the

                                  17   additional Plaintiffs’ counsel and their background, the specific proposed tasks, and why Interim

                                  18   Class Counsel and Plaintiffs’ Executive Committees cannot perform these tasks. Interim Class

                                  19   Counsel must obtain Court approval in advance in order to seek reimbursement of the fees for

                                  20   specific work performed by additional Plaintiffs’ counsel.

                                  21          Further, Interim Class Counsel and the Plaintiffs’ Executive Committees shall take the

                                  22   following steps to ensure efficiency in representing the putative classes in the instant case. First, as

                                  23   Interim Class Counsel, Stephen Swedlow and/or Shana Scarlett shall review all billing records for

                                  24   all billers every month and strike duplicative or inefficient billing for the consumer class. Yavar

                                  25   Bathaee and/or Kristen M. Anderson shall do the same for the advertiser class. Second, all billing

                                  26   shall be contemporaneous, meaning that billing for each task shall be recorded within seven days

                                  27   of the task. Third, all billing shall be recorded by task, rather than by block billing. Fourth, only

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                                   1   work that has been assigned shall be eligible for compensation. Fifth, all billing by task should be

                                   2   billed in tenth-of-an hour increments. Sixth, Interim Class Counsel and the Plaintiffs’ Executive

                                   3   Committees shall impose and enforce limits on the number of lawyers assigned to each task. For

                                   4   expenses, only coach airfare will be reimbursed.

                                   5          Finally, Interim Class Counsel, the Plaintiffs’ Executive Committees, and any additional

                                   6   Plaintiffs’ counsel approved by the Court shall not bill time related to fee issues or time spent

                                   7   preparing or reviewing time and expenses. In other words, “fees on fees” are not billable. “Fees

                                   8   are not awarded for fee litigation in common fund cases because, rather than creating or preserving

                                   9   the common fund, the fee litigation actually depletes it.” Kinney v. Int'l Bhd. of Elec. Workers, 939

                                  10   F.2d 690, 694 n.5 (9th Cir. 1991); accord 5 Newberg on Class Actions § 15:93 (5th ed. Dec. 2020

                                  11   update) (collecting cases).

                                  12   IT IS SO ORDERED.
Northern District of California
 United States District Court




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                                  14   Dated: March 18, 2021

                                  15                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  16                                                    United States District Judge
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